
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be reversed, without costs, and the Supreme Court judgments reinstated.
Relators — foreign nationals with no ties to New York or the United States — are charged with attempted grand larceny in the first degree (a class C felony) for their complicity in a scheme to sell allegedly worthless promissory notes to an undercover detective. The notes, issued by an agency of the Indonesian government, had a face value in excess of $8,000,000.
The nisi prius court, after considering all the statutory factors (see, CPL 510.30 [2]), denied bail to relator Esposito and set bail at $150,000 for relator Palmieri. That court found that the case against relators was strong; would likely result in a conviction; and that a sentence of incarceration would be appropriate. In addition, in relation to the transactions at issue, the record indicated that Esposito was linked to an alleged financier and arms dealer for the PLO (173 AD2d 425, 426). As there was no abuse of discretion by the nisi prius court, its determinations were "beyond correction in habeas corpus” (People ex rel. Parker v Hasenauer, 62 NY2d 777, 779; see also, People ex rel. Weisenfeld v Warden, 37 NY2d 760, 761).
Judges Simons, Kaye, Alexander, Titone, Hancock, Jr., and Bellacosa concur in a memorandum; Chief Judge Wachtler taking no part.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order reversed, etc.
